
378 U.S. 574 (1964)
OWEN ET AL.
v.
ARIZONA.
No. 1078, Misc.
Supreme Court of United States.
Decided June 22, 1964.
ON PETITION FOR WRIT OF CERTIORARI TO THE SUPREME COURT OF ARIZONA.
Petitioners pro se.
Robert W. Pickrell, Attorney General of Arizona, and Norman E. Green for respondent.
PER CURIAM.
The motion for leave to proceed in forma pauperis and the petition for a writ of certiorari are granted. The judgments of the Supreme Court of Arizona are vacated and the case is remanded for further proceedings not inconsistent with the opinion of this Court in Jackson v. Denno, ante, p. 368.
MR. JUSTICE BLACK, MR. JUSTICE CLARK, MR. JUSTICE HARLAN and MR. JUSTICE STEWART dissent for the reasons stated in their dissenting opinions in Jackson v. Denno, supra.
